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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NORTH DAKOTA
                           EASTERN DIVISION
__________________________

United States of America,                       Case No. 2:15-CR-00055

                    Plaintiff,
v.                                              MOTION TO CONTINUE

Daniel Ceron,

                Defendant.
__________________________


      Defendant Ceron, by and through undersigned counsel, Charles Stock, hereby

requests that the trial of his case be continued, and associated pre-trial deadlines be

extended, to allow time to continue review of discovery and investigative materials; for

discussions with the Government concerning a possible resolution; for exploration

of/research on potential pre-trial motions, to allow needed additional time to prepare for

trial and to otherwise allow time for undersigned counsel to be fully prepared for what

the Government indicates to undersigned counsel may a lengthy trial lasting between 4-

6 weeks

      Trial is currently scheduled for September 11, 2018, and, to date, the

Government has produced roughly 30,000 pages of discovery and continues to gather

and produce more. In fact, undersigned counsel just received additional discovery last

week. Not surprisingly, Judge Erickson, prior to moving on to the 8 th Circuit, declared

this matter/case complex (which is almost an understatement), and it is that.         The

Government has been involved with this matter for 3 years or so, but undersigned

counsel was only appointed roughly 6 months ago, and is still in the process of
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attempting to know and comprehend all of the evidence and associated issues involved.

Further, Defendant Ceron has advised undersigned counsel to explore and research

some rather complex, potential pre-trial motions, which will obviously take time away

from preparing for a lengthy trial. Additionally, undersigned counsel will need to re-

arrange/reschedule many other legal matters and standing hearing dates in order be

involved in a lengthy and complex trial such as the one here will be.           In short,

undersigned counsel needs additional time in order to perform properly and fully his

legal duties and responsibilities to Defendant Ceron, who is facing extremely serious

charges and life in prison if convicted.

       Given the above, undersigned counsel believes there is good cause to continue

the trial and that “the ends of justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy trial” pursuant to 18 U.S.C §

3161(h)(7)(A); see United States v. Lucas, 499 F.3d 769, 782-83 (8th Cir. 2007).

Undersigned counsel requests that the trial of this matter be scheduled for late February

and March of 2019.

       A Speedy Trial Waiver is being filed contemporaneously with this Motion.

       Respectfully submitted this 18th day of June, 2018.

                                                FISCHER, RUST & STOCK, PLLC.



                                                By:_/s/ Charles A. Stock__________
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                                   Certificate of Service


       I hereby certify that on the 28th day of October, 2016, the following document(s):

       MOTION TO CONTINUE AND SPEEDY TRIAL WAIVER

was/were filed electronically with the Clerk of Court through ECF, and that ECF will send a
Notice of Electronic Filing (NEF) to all interested parties.

        I further certify that a copy of the foregoing documents and the Notice of Electronic
Filing will be mailed first class mail, postage paid, to the following non-ECF participants:
N/A.


                                           /s/ Charles A. Stock______
                                           Charles A. Stock (ID#05018)
                                           Fischer, Rust & Stock, PLLC.
                                           Attorney for Defendant




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